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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
AMERICAN ASSOCIATION OF            )
UNIVERSITY PROFESSORS,             )
                                   )
AMERICAN ASSOCIATION OF            )
UNIVERSITY PROFESSORS -- HARVARD   )
FACULTY CHAPTER,                   )
                                   )
AMERICAN ASSOCIATION OF            )
UNIVERSITY PROFESSORS AT NEW       )
YORK UNIVERSITY,                   )
                                   )         CIVIL ACTION NO.
RUTGERS AMERICAN ASSOCIATION OF    )         25-10685-WGY
UNIVERSITY PROFESSORS-AMERICAN     )
FEDERATION OF TEACHERS, and        )
                                   )
MIDDLE EAST STUDIES ASSOCIATION,   )
                                   )
                     Plaintiffs,   )
          v.                       )
                                   )
MARCO RUBIO, in his official       )
capacity as Secretary of State,    )
and the DEPARTMENT OF STATE,       )
                                   )
KRISTI NOEM, in her official       )
capacity as Secretary of Homeland )
Security, and the                  )
DEPARTMENT OF HOMELAND SECURITY,   )
                                   )
TODD LYONS, in his official        )
capacity as Acting Director of     )
U.S. Immigration and               )
Customs Enforcement,               )
                                   )
DONALD J. TRUMP, in his official   )
Capacity as President of           )
the United States, and             )
                                   )
UNITED STATES OF AMERICA,          )
                                   )
                     Defendants.   )
___________________________________)
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YOUNG, D.J.                                        April 29, 2025


                        MEMORANDUM AND ORDER

     The right of free speech enshrined in the Bill of Rights in

the First Amendment to the Constitution “[a]s a general matter,

. . . means that government has no power to restrict expression

because of its message, its ideas, its subject matter, or its

content.”   United States v. Stevens, 559 U.S. 460, 468 (2010).

It “is designed and intended to remove governmental restraints

from the arena of public discussion, putting the decision as to

what views shall be voiced largely into the hands of each of us,

. . . in the belief that no other approach would comport with

the premise of individual dignity and choice upon which our

political system rests,” and “safeguards an individual’s right

to participate in the public debate through political expression

and political association.”     McCutcheon v. Federal Election

Comm’n, 572 U.S. 185, 203 (2014) (quoting Cohen v. California,

403 U.S. 15, 24 (1971)).     Indeed, “[p]olitical speech is the

primary object of First Amendment protection and the lifeblood

of a self-governing people.”     Id. at 228 (Thomas, J.,

dissenting).   This case raises the issue of whether certain

Public Officials can enforce a policy of arresting, detaining

and deporting non-citizens who are otherwise here legally based

                                     [2]
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solely upon their pro-Palestine or anti-Israel political speech.

Here, the American Association of University Professors (the

“AAUP”), the AAUP-Harvard Faculty Chapter, the AAUP at New York

University, the Rutgers AAUP-American Federation of Teachers,

and the Middle East Studies Association (collectively, “the

Plaintiffs”) sue Secretary of State Marco Rubio in his official

capacity, the Department of State, Secretary of Homeland

Security Kristi Noem in her official capacity, the Department of

Homeland Security, Acting Director of U.S. Immigration and

Customs Enforcement Todd Lyons in his official capacity,

President Donald J. Trump in his official capacity, 1

(collectively, “the Public Officials”), and the United States of

America 2 based on the Public Officials’ alleged policy of

targeting noncitizens who engage in pro-Palestinian or anti-

Israel speech and association for arrest, detainment, and

deportation (the so-called “ideological-deportation policy”).

Compl., ECF No. 1.


     1 The President, who is sued in his official capacity, is
not a proper party to this suit at least as to injunctive
relief, and is dismissed to the extent that such relief is
sought against him. See State of Miss. v. Johnson, 71 U.S. 475,
501 (1866); Franklin v. Massachusetts, 505 U.S. 788, 802-03
(1992); Trump v. United States, 603 U.S. 593, 639-40 (2024).

     2 The United States of America is dismissed as a party from
this action inasmuch as it is, in the context of this action,
the living embodiment of the Constitution, and the claims for
declaratory and injunctive relief against the Public Officials
are in their official capacities.
                                     [3]
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     The Plaintiffs bring four counts: (1) a claim based upon

the First Amendment to the Constitution, challenging the

ideological-deportation policy itself; (2) a claim based upon

the First Amendment to the Constitution, challenging the Public

Officials’ threats to punish noncitizens’ constitutionally

protected speech;, (3) a claim based upon the Fifth Amendment to

the Constitution, alleging that the ideological-deportation

policy invites arbitrary and discriminatory enforcement; and (4)

a violation of the Administrative Procedure Act, 5 U.S.C. §

706(2)(A)-(C), also based on the ideological-deportation policy.

Compl. ¶¶ 134-39.   The Plaintiffs seek declaratory and

injunctive relief, and an award of costs and attorneys’ fees.

Id. 47-48.

     The Public Officials move to dismiss 3 on the grounds that:

(1) this Court lacks jurisdiction because the Plaintiffs seek

class-wide relief against immigration enforcement actions, which




     3 At the April 23, 2025, hearing on the Plaintiffs’ Motion
for Preliminary Injunction, ECF No. 13, the Court collapsed the
motion into a trial on the merits pursuant to Rule 65(a) of the
Federal Rules of Civil Procedure, which is this Court’s usual
practice. The Court construed the Public Officials’ opposition
to the Motion for a Preliminary Injunction as a motion to
dismiss under Fed. R. Civ. P. 12(b)(1) and 12(b)(6), and the
Plaintiffs’ Reply, ECF No. 69, as the opposition to the motion.
The parties were offered an opportunity to adjourn until a later
date to argue the motion to dismiss, but were content with
having their motion to dismiss arguments heard forthwith. The
Court heard argument and took the matter under advisement.
Elec. Clerk’s Notes, ECF No. 72.
                                     [4]
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is barred by two provisions of the federal immigration laws; (2)

the Plaintiffs lack standing because they allege only incidental

harms based on the possible choices of third parties in response

to a vaguely defined policy, rather than the concrete and

imminent harm that constitutional standing requires; (3) the

Plaintiffs’ First Amendment claims fail because this Amendment

applies differently in the immigration context, and the

Plaintiffs challenge an ill-defined policy that is really a

generic political initiative, which challenge is foreclosed by

the rule against selective deportation claims and in any case

must be dealt with on an individual basis; (4) the Plaintiffs’

Fifth Amendment claim fails because only statutes can be

challenged as unconstitutionally vague; and (5) the Plaintiffs’

APA claim fails because, given the ill-defined nature of the

policy and the exclusive administrative scheme through which

removal challenges must be channeled, the Plaintiffs point to no

final agency action for which there is no other adequate remedy.

     For the reasons stated below, the motion to dismiss is

ALLOWED in part as to count three, and DENIED in part, as to

counts one, two, and four.     A case management conference is set

for Tuesday, May 6, 2025 at 10 a.m.




                                     [5]
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I.   INTRODUCTION

     A.    Procedural History

     The Plaintiffs filed suit against the Public Officials on

March 25, 2025.     See Compl.   On April 1, 2025, the Plaintiffs

moved for a preliminary injunction to enjoin the Public

Officials and their agents from implementing or enforcing the

ideological-deportation policy, and from threatening to arrest,

detain, or deport noncitizen students and faculty based on

political expression, and requested that this Court stay the

policy under the Administrative Procedure Act, 5 U.S.C. § 705.

Pls.’ Mot. Prelim. Inj. & Expedited Briefing Sched., ECF No. 13.

This motion was fully briefed.      Mem. Law. Supp. Pls.’ Mot.

Prelim. Inj. (“Pls.’ Mem.”), ECF No. 14; Defs.’ Opp’n Pls.’ Mot.

Prelim. Inj. (“Defs.’ Opp’n”), ECF No. 65; Pls.’ Reply Supp.

Pls.’ Mot. Prelim. Inj. (“Pls.’ Reply”), ECF No. 69. 4

     This Court promptly scheduled a hearing on the preliminary

injunction motion.     As set forth above, see supra n.2, the

motion for preliminary injunction was collapsed into a trial on

the merits pursuant to Rule 65(a) of the Federal Rules of Civil

Procedure, the opposition to the motion was construed as a

motion to dismiss, and the Plaintiffs’ reply was construed as an




     4 The Court also received submissions from amici. The Court
is grateful for these helpful, educational submissions.
                                      [6]
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opposition.   The Court heard argument on the motion to dismiss

and took the matter under advisement.

     B.   Facts Alleged

     The Court takes the following facts alleged in the

Complaint as true for purposes of the motion to dismiss.

     The Plaintiffs allege that the Public Officials have

announced and begun to carry out an “ideological-deportation

policy” entailing “large-scale arrests, detentions, and

deportations of noncitizen students and faculty who participate

in pro-Palestinian protests and other related expression and

association.”   Compl. ¶ 1.     Pursuant to this policy, the agents

of these Public Officials have arrested recent Columbia

University graduate and lawful permanent resident Mahmoud Khalil

(“Khalil”) and revoked the visas of at least four others,

supplied universities with the names of other students they

intend to target, and launched new social media surveillance

programs to identify other targets.         Id.   While occasionally

referring to “pro-Hamas” speech, officials have in fact

“stretched that label beyond the breaking point to encompass any

speech supportive of Palestinian human rights or critical of

Israel’s military actions in Gaza,” thus squarely targeting

“constitutionally protected speech and association.”             Id. ¶ 2.

     The Plaintiffs allege that this policy “has created a

climate of repression and fear on university campuses,” such

                                      [7]
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that some noncitizen students and faculty have stopped attending

protests, resigned from politically-oriented groups, declined

opportunities to publish commentary and scholarship, stopped

contributing to classroom discussions, deleted past work from

the internet, and in general now hesitate to speak on political

issues in public or even in private text messages.            Id. ¶ 3.

The Plaintiffs allege that this shows the policy “is

accomplishing its purpose: it is terrorizing students and

faculty for their exercise of First Amendment rights in the

past, intimidating them from exercising those rights now, and

silencing political viewpoints that the government disfavors.”

Id.   The Plaintiffs’ counsel confirmed at oral argument that the

ideological-deportation policy here is limited to speech related

to Palestine and Israel.

               1. The Plaintiffs

      The Plaintiffs are associations whose members include

thousands of faculty and students at universities across the

country.    Id. ¶ 4.   They allege that the ideological-deportation

policy prevents their citizen members from hearing from and

associating with their noncitizen students and colleagues, to

organize with them or engage in political speech with them, to

benefit from their insights and scholarship, and to collaborate

with them on academic projects.       Id.    The organizations

themselves have also been harmed because they cannot learn from

                                       [8]
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and engage with noncitizen members like they once did, and must

divert resources to address the possibility that their

noncitizen members will be arrested, imprisoned, and deported

for exercising their First Amendment rights.          Id.

     The AAUP is a nonprofit membership association and labor

union of faculty, graduate students, and other academic

professionals with chapters at universities across the country.

Id. ¶ 9.    Its mission is to advance academic freedom and shared

governance and to help the academic community organize to

accomplish its goals, among other things.         Id.

     The AAUP-Harvard Faculty Chapter is the AAUP chapter for

Harvard faculty, headquartered in Cambridge, Massachusetts, the

AAUP at New York University is the AAUP chapter for NYU faculty,

headquartered in New York City, New York, and the Rutgers AAUP-

American Federation of Teachers is the Rutgers AAUP chapter for

at Rutgers University, headquartered in New Brunswick, New

Jersey.    Id. ¶ 10-12.

     The Middle East Studies Association (“MESA”) is a nonprofit

membership association of scholars, educators, and those

interested in the study of the Middle East, whose mission is “to

foster the study of the Middle East; to promote high standards

of scholarship and teaching; and to encourage public

understanding of the region and its peoples” through programs,

publications, and services.     Id. ¶ 13.

                                     [9]
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            2. The Ideological-Deportation Policy

     The Plaintiffs trace the origins of the policy to the wave

of pro-Palestinian protests that occurred across campuses in the

wake of the October 7, 2023 Hamas-led attacks on Israel and

Israel’s subsequent bombing of Gaza, including the widely

publicized encampment at Columbia University in mid-April 2024.

Id. ¶¶ 21-23.   They point out that, during his 2024 presidential

campaign, President Trump characterized these protests as “pro-

Hamas,” “pro-terrorist,” “antisemitic” and “anti-American,” and

promised to deport noncitizen students and faculty who

participated, including a statement to donors in May 2024 that,

“any student that protests, I throw them out of the country.”

Id. ¶ 24.

     The Plaintiffs allege that “[t]he defendant agencies

adopted the ideological-deportation policy . . . to implement

two executive orders” issued by President Trump shortly after he

took office: Executive Order No. 14,161, issued on January 20,

2025 and titled “Protecting the United States from Foreign

Terrorists and Other National Security and Public Safety

Threats,” which states that it is the policy of the United

States to protect citizens from noncitizens who “espouse hateful

ideology” and to ensure that noncitizens “do not bear hostile

attitudes towards its citizens, culture, government,

institutions, or founding principles” and “do not advocate for,

                                    [10]
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aid, or support designated foreign terrorists and other threats

to national security,” and which directs the Secretary of State

promptly to “vet and screen” all noncitizens “to the maximum

degree possible,” id. ¶¶ 25-26; and Executive Order 14,188,

which states that it is the policy of the United States “to

combat anti-Semitism vigorously” and “to prosecute, remove, or

otherwise hold to account the perpetrators of unlawful anti-

Semitic harassment and violence,” and directs each agency or

executive department head to identify all authorities or actions

that might be used “to curb and combat anti-Semitism,” including

“recommendations for familiarizing institutions of higher

education with the grounds for inadmissibility under 8 U.S.C. §

1182(a)(3)” so that universities and colleges “may monitor for

and report activities by alien students and staff relevant to

those grounds” and ensure “that such reports about aliens lead,

as appropriate and consistent with applicable law, to

investigations and, if warranted, actions to remove such

aliens,” id. ¶ 27.   This second Order also reaffirms Executive

Order 13,899, issued during the first Trump administration,

which adopted a definition of antisemitism that includes

constitutionally protected speech, such as claiming that Israel

is “a racist endeavor,” holding Israel to standards “not

expected or demanded of any other democratic nation,” or

“comparing Israeli policies to those of the Nazis.”           Id.

                                    [11]
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       The “grounds for inadmissibility” referred to in Executive

Order 14,188 are the security and related grounds, including

terrorism-related provisions rendering noncitizens who engage in

or incite terrorist activity, or endorse or espouse or persuade

others to endorse or espouse the same, or represent “a

political, social, or other group” that endorses or espouses

such activity, inadmissible under 8 U.S.C. § 1182(a)(3)(B); and

a foreign policy provision rendering inadmissible any noncitizen

“whose entry or proposed activities in the United States the

Secretary of State has reasonable ground to believe would have

potentially serious adverse foreign policy consequences for the

United States”; provided that, if such belief is grounded on

beliefs, statements, or associations that are otherwise lawful,

the Secretary of State must “personally determine[] that the

[noncitizen]’s admission would compromise a compelling United

States foreign policy interest” and provide timely notice of

this determination to Congress, id. § 1182(a)(3)(C).               Compl. ¶

28.

       The Plaintiffs also cite a White House fact sheet about

Executive Order 14,188, which “promise[s]” to “Deport Hamas

Sympathizers and Revoke Students Visas,” and which included a

warning from the President that resident aliens who “joined in

the pro-jihadist protests” would be found and deported “come

2025,” and that “student visas of all Hamas sympathizers on

                                       [12]
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college campuses, which have been infested with radicalism like

never before,” would be canceled.     Id. ¶ 29.

     As an example of the direct impact of the alleged policy,

Plaintiffs cite the arrest of Mahmoud Khalil, a lawful permanent

resident and recent Columbia graduate who was arrested at his

Columbia student housing and had his green card revoked, whose

deportation notice cites the foreign policy provision, and whom

officials have stated was leading activities “aligned to” Hamas

or that were “pro-Palestinian” but was not breaking the law; the

revocation of at least four other student or faculty visas; the

government’s supplying universities with the names of other

students to be targeted; and the launch of a new social media

surveillance campaign to identify new targets.          Id. ¶¶ 30, 32-

34, 36.   The Plaintiffs allege that the subsequent justification

for revoking Khalil’s green card, namely that he failed to

disclose he was a member of the United Nations Relief and Works

Agency for Palestine Refugees and Columbia University Apartheid

Divest, and that he had continued to work for the British

government, was pretextual.    Id. ¶ 35.

     The Plaintiffs also recount the stories of four other

students and faculty whose visas have been revoked on

ideological grounds: Columbia doctoral student and NYU adjunct

professor Ranjani Srinivasan, who fled the United States when

threatened with arrest, including ICE agents’ showing up at her

                                    [13]
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apartment after her student visa was revoked, and who was later

accused (without evidence, as alleged) of being a terrorist

sympathizer who advocated violence, but who is active in

protesting human rights violations in Gaza and signed an open

letter in support of Palestinian liberation, id. ¶ 37; Columbia

student and lawful permanent resident Yunseo Chung, who engaged

in a pro-Palestinian protest and sit-in where she was arrested

by police and given a ticket for obstructing governmental

administration, and whose lawful permanent resident status was

subsequently revoked after ICE issued a warrant for her arrest,

id. ¶ 38; Georgetown University postdoctoral fellow Badar Khan

Suri, who was arrested and whose student visa was revoked

pursuant to the foreign policy provision, based on spreading

“Hamas propaganda” and promoting antisemitism on social media

and for having connections to a senior advisor to Hamas, despite

those connections’ being greatly attenuated, id. ¶ 39; and

Cornell University doctoral candidate Momodou Taal, who is a

prominent pro-Palestinian advocate, and whose student visa was

revoked after he refused a request to “surrender to ICE

custody,” id. ¶ 40. 5




     5In their subsequent briefs, the Plaintiffs also refer to
Rϋmeysa Öztϋrk, a doctoral student at Tufts University who was
detained and whose visa was revoked, allegedly for writing an
op-ed critical of Israel, Pls.’ Mem. 3, and to Mohsen Mahdwani,
a Columbia student and lawful permanent resident who led pro-
                                     [14]
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     The Plaintiffs also cite a number of statements from

executive officials, including Secretary of State Rubio’s

statement on X (formerly Twitter) referring to a “zero

tolerance” policy for foreign students who “support terrorists,”

notice of a new social media surveillance program called “Catch

and Revoke,” which uses Artificial Intelligence to find relevant

evidence to support visa revocations, and statements expressing

a clear intent to target more foreign students and faculty,

including Vice President J.D. Vance’s statement that Khalil’s

arrest was not about free speech or even fundamentally about

national security, but about the American people’s deciding who

“gets to join our national community” and Secretary Rubio and

the President’s deciding “this person shouldn’t be in America,”

and Secretary Rubio’s statement that “every day now” the

government is approving more visa revocations, id. ¶¶ 31, 41-47.

     As a result of this policy, the Plaintiffs allege, many

noncitizen students and faculty no longer participate in public

protests, some have stepped back from leadership roles or

participation in advocacy groups related to Palestine, some

abstain from public writing or scholarship and have purged past

writing and online posts, some skip class or classroom

discussion, and some faculty have fled their home cities in the



Palestinian demonstrations at Columbia and whom DHS has now
detained and seeks to deport, Pls.’ Reply 2; id., Ex. H.
                                    [15]
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United States.     Id. ¶ 48.      “This chill,” the Plaintiffs allege,

“flows directly from the policy challenged here,” and from the

Public Officials’ “threats” to arrest, detain, and deport

noncitizen students and faculties based on their lawful

expression and association.         Id. ¶ 49.       “Plaintiffs all have

noncitizen faculty and student members who have been compelled

to curtail their exercise of expressive and associational

rights” in these ways.         Id. ¶ 50.

       In support of these allegations, the Plaintiffs describe

the chill experienced by five anonymous members of the AAUP, two

anonymous members of MESA, and one anonymous student who has

worked closely with their AAUP chapter.               Id. ¶¶ 51-76.      AAUP

Members A-E are lawful permanent resident professors or

lecturers who have, variously, taken down social media posts and

previously published writing and scholarship, stopped assigning

material about Palestine in class, withdrawn from a conference

presentation, ceased traveling abroad for conferences, ceased

engaging in political protest and assembly in which they

previously participated, ceased teaching a course they

previously taught, and foregone opportunities to write and speak

at public events, to continue planning a national organization

addressing issues related to Palestine, and to take on

leadership opportunities within their AAUP chapter.                  Id. ¶¶ 51-

66.    MESA Members A-B are lawful permanent resident professors

                                           [16]
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who have, variously, reduced their engagement on social media

and self-censored on issues related to Palestine, refrained from

traveling internationally for key research including on a new

book project that requires it, canceled travel plans for

conferences and thus foregone associating with colleagues

including other MESA members, ceased protesting activity in

which they formerly engaged, declined opportunities to chair

academic committees and publish work, and foregone research

grants and scholarship opportunities that would have required

travel -- all of which harms their scholarship, which depends on

travel for interviews and attendance at cultural events that

they study.   Id. ¶¶ 67-73.   Noncitizen Student A is a graduate

student and student visa holder who has worked closely with

local AAUP chapter members, and who recently deleted their

social media account, which they used for academic and

networking purposes, and removed information about their work

from university websites due to concern about material related

to Palestine, and who has been chilled from associating publicly

with colleagues, including AAUP members, and has declined to

give speeches at protests or to appear at rallies and a

previously planned film screening and panel discussion and a

conference at which they had planned to speak.          Id. ¶¶ 74-76.

     In addition to the harms to these anonymous noncitizen

teachers and students, the Plaintiffs allege direct harms to

                                    [17]
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their organizations, which all advocate for academic freedom and

related causes, and to their citizen members: deterred

noncitizen participation in AAUP events and leadership roles,

and diverted resources to counsel noncitizen members on

immigration issues, id. ¶¶ 78-81; similar harms, including

reduced noncitizen membership joining, to Harvard-AAUP, id. ¶¶

82-84; similar harms, including a member-prepared petition

related to pro-Palestine protesting that the NYU administration

discounted in part because members felt compelled to remove

their names out of fear, to the NYU-AAUP, id. ¶¶ 85-87; similar

harms to Rutgers AAUP-AFT, id. ¶¶ 88-90; and similar harms to

MESA, including the reduced participation of noncitizen scholars

whose expertise is uniquely vital to MESA due to their “personal

connections, heritage, and language skills,” significantly

reduced anticipated participation in MESA’s landmark annual

meeting in Washington, DC in November 2025 due to fear, and

leadership and staff’s specifically spending “more time and

energy responding to crises stemming from the policy than on

scholarship,” id. ¶¶ 91-94.

     The Plaintiffs also recount the experiences of several

citizen member professors, including the President of MESA Asli

Bâli, a professor at Yale Law School, who have been contacted by

noncitizen students who are scrubbing the internet of any

evidence of Palestine-related speech or scholarship, avoiding

                                    [18]
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traveling abroad for critical research or speaking at academic

events, or changing research topics and syllabi, and who

themselves now hesitate to or are unable to coordinate or

organize with, work with, or otherwise communicate with

noncitizen members and other faculty and students as they once

did, and who have canceled events, had online communities shut

down, and witnessed noncitizens’ ceasing participating in class,

refraining from teaching or speaking on political topics, or

even going into hiding, and who in some cases have significantly

curtailed their own speech with noncitizens.            Id. ¶¶ 95-133.

The citizen member professors argue that these fear-based

restraints have significantly harmed their research and teaching

and negatively impacted their rights to hear from and to

associate with the threatened noncitizens.            Id.

II.    ANALYSIS

       A. Standard of Review

       Pursuant to Rule 8(a)(2) of the Federal Rules of Civil

Procedure, a complaint “that states a claim for relief must

contain . . .     a short and plain statement of the claim showing

that the pleader is entitled to relief.”           To test the

sufficiency of the pleading, a defendant can file a motion to

dismiss pursuant to Fed. R. Civ. P. 12(b)(6), and to test the

subject matter jurisdiction of the Court, a motion to dismiss

pursuant to Fed. R. Civ. P. 12(b)(1). “When faced with motions

                                       [19]
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to dismiss under both 12(b)(1) and 12(b)(6), a district court,

absent good reason to do otherwise, should ordinarily decide the

12(b)(1) motion first.”     Katz v. Pershing, LLC, 806 F. Supp. 2d

452, 456 (D. Mass. 2011) (Stearns, J.), aff’d, 672 F.3d 64 (1st

Cir. 2012).   Whether a motion is brought under Rule 12(b)(1) or

12(b)(6), “the reviewing court must take all of plaintiff's

allegations as true and must view them, along with all

reasonable inferences therefrom, in the light most favorable to

plaintiff.”   Verlus v. Experian Info. Sols., Inc., No. 23-CV-

11426-DJC, 2025 WL 836588, at *1 (D. Mass. Mar. 17, 2025)

(Casper, J.).   The complaint must include sufficient factual

allegations that, accepted as true, “state a claim to relief

that is plausible on its face.”     Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007).   Courts “draw every reasonable inference”

in favor of the plaintiff, Berezin v. Regency Sav. Bank, 234

F.3d 68, 70 (1st Cir. 2000), but they disregard statements that

“merely offer legal conclusions couched as fact or threadbare

recitals of the elements of a cause of action,” Ocasio-Hernández

v. Fortuño-Burset, 640 F.3d 1, 12 (1st Cir. 2011) (cleaned up).

Accordingly, the Court addresses the jurisdictional issues

first, and then proceeds to the merits arguments.

     B. This Court Has Subject Matter Jurisdiction

     “For much of U.S. history, the federal courts have not laid

down clear principles governing the relationship between the

                                    [20]
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First Amendment's commitment to freedom of speech and the

immigration laws.”   Jennifer Lee Koh, Executive Discretion and

First Amendment Constraints on the Deportation State, 56 Ga. L.

Rev. 1473, 1482 (2022).     Part of the reason may be

jurisdictional.   Here, the Public Officials argue the Court has

no jurisdiction to test the merits for two reasons: first, 8

U.S.C. § 1252(f) (“Section 1252(f)”) provides that no court

other than the Supreme Court has jurisdiction “to enjoin or

restrain the operation” of the federal laws governing

deportation except as pertains to an individual alien against

whom proceedings have been initiated, and the Supreme Court has

interpreted this to mean that courts such as this one may not

grant injunctive relief ordering federal officials “to take or

to refrain from taking actions to enforce, implement, or

otherwise carry out” the deportation provisions, whether or not

those officials have properly interpreted the laws, Garland v.

Aleman Gonzalez, 596 U.S. 543, 549-52 (2022); Defs.’ Opp’n 4-6;

and, second, 8 U.S.C. § 1252(g) (“Section 1252(g)”) provides

that no court has jurisdiction to hear a claim “by or on behalf

of any alien arising from” the Attorney General’s decision to

commence proceedings, adjudicate cases, or execute removal

orders, except through a petition for review from a final order

of removal filed in a court of appeals, and the Supreme Court

has interpreted this to mean that selective prosecution claims

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are jurisdictionally barred once an order of removal has been

issued, see Reno v. American-Arab Anti-Discrim. Comm., 525 U.S.

471 (1999) (“AADC”) 6 -- which rule, the Public Officials argue,

applies a fortiori to third party claims, or else associates

could always make an end run around the jurisdictional bar,

Defs.’ Opp’n 6-7.

             1. Section 1252(f) Bars Only Injunctive Relief as to
                Certain Claims

     The Public Officials first argue that to the extent that

the “Plaintiffs ask this Court to ‘enjoin’ [the] Defendants from

taking any action to ‘arrest, detain, and deport’ any

‘noncitizen students and faculty’ pursuant to the alleged

‘ideological deportation policy,’” they ask for an injunction of

“certain [immigration] enforcement actions against a class of

people -- all noncitizen students and faculty across the

country.”   Defs.’ Opp’n 4.   Such injunctive relief, say the

Public Officials, has been jurisdictionally stripped by Congress

from imposition by lower federal courts (though not the Supreme

Court) by 8 U.S.C. § 1252(f)(1) (“Section 1252”), which

provides:

     Regardless of the nature of the action or claim or of
     the identity of the party or parties bringing the
     action, no court (other than the Supreme Court) shall
     have jurisdiction or authority to enjoin or restrain
     the operation of the provisions of part IV of this

     6 Most courts and commentators use AADC, or some acronym
variation, as a short form, so it is adopted here.
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     subchapter, as amended by the Illegal Immigration
     Reform and Immigrant Responsibility Act of 1996, other
     than with respect to the application of such
     provisions to an individual alien against whom
     proceedings under such part have been initiated.

8 U.S.C. § 1252(f)(1).

     The Supreme Court recently reviewed the contours of Section

1252(f) in Aleman Gonzalez, 596 U.S. at 543.         In that case, the

lower courts certified and entered class-wide relief to provide

aliens detained under 8 U.S.C. § 1231(a)(6) with bond hearings.

Id. at 546.    The government appealed, and the Ninth Circuit

affirmed.    Id.

     The Supreme Court granted certiorari and ordered the

parties to address whether Section 1252(f)(1) “deprived the

District Courts of jurisdiction to entertain respondents’

requests.”    Id.   The Supreme Court held that Section 1252(f)(1)

“deprived” the district court “of jurisdiction to entertain . .

. requests for class-wide injunctive relief.”          Id.

     The Supreme Court explained that Section 1252(f)(1)

“generally prohibits lower courts from entering injunctions that

order federal officials to take or to refrain from taking

actions to enforce, implement, or otherwise carry out the

specified statutory provisions,” except “with respect to the

application of such provisions to an individual alien against

whom proceedings under such part have been initiated.”             Id. at

550 (quoting Section 1252(f)(1)).

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     As Justice Sotomayor observed in her partial concurrence,

the Court’s “holding risks depriving many vulnerable noncitizens

of any meaningful opportunity to protect their rights.”             Id. at

569 (Sotomayor, J., concurring in part).         That being said,

Aleman Gonzalez “does not purport to hold that § 1252(f)(1)

affects courts’ ability to ‘hold unlawful and set aside agency

action, findings, and conclusions’ under the Administrative

Procedure Act, 5 U.S.C. § 706(2),” nor does it “bar[] even

classwide declaratory relief.”    Id. at 571; see National TPS

All. v. Noem, No. 25-CV-01766-EMC, 2025 WL 957677, at *11 (N.D.

Cal. Mar. 31, 2025) (“The Court also bears in mind that the

Supreme Court has, to date, declined to address the issue of

whether § 1252(f)(1) is a bar to a court issuing relief pursuant

to the APA.”).

     The Supreme Court subsequently read the provision as not

brushing up against subject matter jurisdiction over an action

at all, but rather merely “depriv[ing] courts [other than the

Supreme Court] of the power to issue a specific category of

remedies: those that ‘enjoin or restrain the operation of’ the

relevant sections of the statute.”        Biden v. Texas, 597 U.S.

785, 798 (2022) (citation omitted).        Indeed, the limitation is

only on the authority of an inferior federal court to enter

injunctive remedies.   Id. at 799.    Said differently, and more to

the point, “the question whether a court has jurisdiction to

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grant a particular remedy is different from the question whether

it has subject matter jurisdiction over a particular class of

claims.”   Id. at 801.   While the dissenting Justices in Biden v.

Texas questioned the jurisdiction-versus-remedy holding with

respect to injunctive relief, the only present bar is on

injunctive relief.   Id. at 821, 838-839.       Indeed, Justice

Barrett questions:

     Does [Section 1252(f)(1)] mean that the restriction on
     remedial authority is subject to waiver or forfeiture,
     so that a lower court can sometimes properly enter
     non-individual injunctive relief that this Court can
     then review? That a district court has the authority
     to enter some kinds of non-individual relief (for
     example, a classwide declaratory judgment) and that
     this Court can enter different relief (for example, a
     classwide injunction) on review of that judgment? Or
     that this Court can enter an injunction on appeal if
     the district court could have entered at least one
     form of relief, even if it actually entered only
     relief that exceeded its authority? Or perhaps the
     parenthetical serves the very different purpose of
     clarifying that § 1252(f)(1) does not disturb any pre-
     existing authority this Court has under the All Writs
     Act or other sources. These are difficult questions,
     yet the Court does not address any of them.

Id. at 838-39.   The First Circuit presciently concluded, pre-

Aleman Gonzalez, “that declaratory relief remains available

under section 1252(f)(1)” and “[i]n so holding . . . reach[ed]

the unremarkable conclusion that Congress meant only what it

said -- and not what it did not say.”       Brito v. Garland, 22 F.

4th 240, 252 (1st Cir. 2021).




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     The Public Officials argue that the requested relief falls

squarely within the injunction-bar as interpreted by the Supreme

Court in Aleman Gonzales. Defs.’ Opp’n 5.         The Public Officials

incorrectly assert, however, that Section 1252(f)(1) is a

“jurisdictional” bar.   It is not.

     The Plaintiffs argue that: (1) the provision does not bar

injunctive relief vis-à-vis the ideological-deportation policy

as opposed to specific immigration law provisions; (2) an

injunction would only be barred as to “Part IV” of the

Immigration and Nationality Act as amended by the Illegal

Immigration Reform and Immigrant Responsibility Act of 1996

(“IIRIRA”); and (3) the remaining relief would not be injunctive

relief (i.e. a stay under the APA or an injunction against

threats).   Pls.’ Reply 8-10.   All three of these arguments are

problematic.

     Nevertheless, at the motion to dismiss stage, this Court

need not rule on this issue since the contours of the relief

requested remain unclear.    See Immigrant Defs. L. Ctr. v. United

States Dept. of Homeland Sec., No. CV 21-0395, 2021 WL 4295139,

at *7 (C.D. Cal. July 27, 2021) (“Because the precise form of

plaintiffs’ requested injunctive relief is not clearly defined

at this stage of the case, it is premature to rule on whether §

1252(f) applies at this time.”).



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     Accordingly, the motion to dismiss based on this Court’s

subject matter jurisdiction is DENIED without prejudice, subject

to renewal as to the issue of authorized remedies if -- and only

if -- liability is first established.

            2. Section 1252(g) Does Not Divest This Court of
               Jurisdiction Over the Plaintiffs’ Ideological-
               Deportation Policy Claims

     The Public Officials argue that even to entertain

consideration of the alleged ideological-deportation policy is

an end-around of Section 1252(g).     The Plaintiffs respond that

their claims are brought neither by nor on behalf of an alien,

nor do they arise from any deportation proceeding subject to the

narrow jurisdictional bar; rather, the Plaintiffs attack an

allegedly unconstitutional, overarching policy.             Pls.’ Reply 4.

     Section 1252(g) is a jurisdiction-stripping clause

applicable to aliens or those bringing claims on their behalf in

three distinct phases of the removal process:

     Except as provided in this section and notwithstanding
     any other provision of law (statutory or
     nonstatutory), including section 2241 of Title 28, or
     any other habeas corpus provision, and sections 1361
     and 1651 of such title, no court shall have
     jurisdiction to hear any cause or claim by or on
     behalf of any alien arising from the decision or
     action by the Attorney General to commence
     proceedings, adjudicate cases, or execute removal
     orders against any alien under this chapter.

8 U.S.C. § 1252(g) (emphasis added).




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     As an initial matter, the statutory bar applies to “any

cause or claim by or on behalf of any alien.”          Id. (emphasis

added).   The parties agree that Section 1252(g) is not all-

encompassing, but rather is “narrow[]” in scope; it does not

“cover[] the universe of deportation claims.”          AADC, 525 U.S. at

482; see Defs.’ Opp’n 6; Pls.’ Reply 4.        Rather, the Supreme

Court is clear that Section 1252(g) “applies only to three

discrete actions that the Attorney General may take: her

‘decision or action’ to ‘[(1)] commence proceedings, [(2)]

adjudicate cases, or [(3)] execute removal orders.’”            Id.

(brackets added).

     A quarter century ago, in AADC, eight members of the

Popular Front for the Liberation of Palestine, “a group

characterized by the government as an international and

terrorist organization,” were charged under the now-repealed

(and repealed at the time of the AADC decision) McCarran-Walter

Act, which permitted the deportation of aliens who ‘advocat[ed]

. . . world communism.’”    AADC, 525 U.S. at 473.          Six of the

eight were also charged with overstaying their visas and failing

to maintain their student status.     Id.

     The aliens filed suit against the government to prevent

their deportation, “challenging the anticommunism provisions of

the McCarran-Walter Act and seeking declaratory and injunctive

relief against the Attorney General, the INS, and various

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immigration officials in their personal and official

capacities.”   Id.

     The advocacy-of-communism charges were dropped.              Id.   The

“technical violation charges against the six temporary residents

[were retained] and [] Hamide and Shehadeh, who were permanent

residents, [were charged] under a different section of the

McCarran–Walter Act, which authorized the deportation of aliens

who were members of an organization advocating ‘the duty,

necessity, or propriety of the unlawful assaulting or killing of

any [government] officer or officers’ and ‘the unlawful damage,

injury, or destruction of property.’”         Id. at 474 (quoting 8

U.S.C. §§ 1251(a)(6)(F)(ii)-(iii)).         Furthermore, the “INS

regional counsel William Odencrantz said at a press conference

that the charges had been changed for tactical reasons but the

INS was still seeking respondents’ deportation because of their

affiliation with the PFLP.”     Id.   The aliens “amended their

complaint to include an allegation that the INS was selectively

enforcing immigration laws against them in violation of their

First and Fifth Amendment rights.”         Id.

     The case wound its way through the courts, and eventually

the district court preliminarily enjoined the aliens’

deportation.   Id. at 475.    The district court held “that [the

six temporary aliens] were likely to prove that the INS did not

enforce routine status requirements against immigrants who were

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not members of disfavored terrorist groups and that the

possibility of deportation, combined with the chill to their

First Amendment rights while the proceedings were pending,

constituted irreparable injury.”         Id.    The two permanent

residents lost at summary judgment.           The Ninth Circuit affirmed

the injunction as to the six and reversed as to the two

permanent residents.      Id.    The matter was remanded to the

district court.    Id.

     At that point, IIRIRA was passed by Congress, which

enacted, among other things, Section 1252(g). Id.               The Attorney

General appealed, claiming this new section stripped the courts

of jurisdiction.    Id.    The Ninth Circuit disagreed, the Attorney

General appealed again, and the Supreme Court granted

certiorari.   Id. at 476.

     The Supreme Court rejected the parties’ competing

arguments, and held that Section 1252(g) “applies only to three

discrete actions that the Attorney General may take:” her

“decision or action” to “commence proceedings, adjudicate cases,

or execute removal orders.”        Id. at 482.      As the Supreme Court

explained, Congress’ precision decidedly omitted “many other

decisions or actions that may be part of the deportation process

-- such as the decisions to open an investigation, to surveil

the suspected violator, to reschedule the deportation hearing,

to include various provisions in the final order that is the

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product of the adjudication, and to refuse reconsideration of

that order.”   Id.   As the Supreme Court reasoned, “it is

implausible that the mention of three discrete events along the

road to deportation was a shorthand way of referring to all

claims arising from deportation proceedings.           Not because

Congress is too unpoetic to use synecdoche, but because that

literary device is incompatible with the need for precision in

legislative drafting.”      Id. at 482.

     To be sure, as argued by the Public Officials, “many

provisions of IIRIRA are aimed at protecting the Executive's

discretion from the courts -- indeed, that can fairly be said to

be the theme of the legislation,” such as inspections of aliens,

denials of discretionary relief, and limiting review of asylum

determinations.   Id. at 486.     Section 1252(g) is limited,

however, to the discrete “subset of deportation claims” of three

specific claims outline above.      Id. at 487.       Turning to the

aliens’ challenge to the commencement of deportation

proceedings, the Supreme Court held that Section 1252(g)

squarely applied.    Id.

     The aliens argued that the doctrine of constitutional doubt

required the Supreme Court “to interpret § 1252(g) in such

fashion as to permit immediate review of their selective-

enforcement claims.”    Id. at 488.    The Supreme Court stated that

it did “not believe that the doctrine of constitutional doubt

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has any application here” and held that “[a]s a general matter -

- and assuredly in the context of claims such as those put

forward in the present case -- an alien unlawfully in this

country has no constitutional right to assert selective

enforcement as a defense against his deportation.”           Id. at 488

(emphasis added).

     The Supreme Court was sensitive, in the context of

perceived selective enforcement, to the independence of the

Executive Branch:

     What will be involved in deportation cases is not
     merely the disclosure of normal domestic law
     enforcement priorities and techniques, but often the
     disclosure of foreign-policy objectives and (as in
     this case) foreign-intelligence products and
     techniques. The Executive should not have to disclose
     its “real” reasons for deeming nationals of a
     particular country a special threat -- or indeed for
     simply wishing to antagonize a particular foreign
     country by focusing on that country’s nationals -- and
     even if it did disclose them a court would be ill
     equipped to determine their authenticity and utterly
     unable to assess their adequacy.

Id. at 490-91.   The Supreme Court was clear that a continued

violation of the law need not be countenanced because an alien

is improperly selected for deportation:

          In many cases (for six of the eight aliens here)
     deportation is sought simply because the time of
     permitted residence in this country has expired, or
     the activity for which residence was permitted has
     been completed. Even when deportation is sought
     because of some act the alien has committed, in
     principle the alien is not being punished for that act
     (criminal charges may be available for that separate
     purpose) but is merely being held to the terms under

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     which he was admitted. And in all cases, deportation
     is necessary in order to bring to an end an ongoing
     violation of United States law. The contention that a
     violation must be allowed to continue because it has
     been improperly selected is not powerfully appealing.

         To resolve the present controversy, we need not
     rule out the possibility of a rare case in which the
     alleged basis of discrimination is so outrageous that
     the foregoing considerations can be overcome. Whether
     or not there be such exceptions, the general rule
     certainly applies here. When an alien’s continuing
     presence in this country is in violation of the
     immigration laws, the Government does not offend the
     Constitution by deporting him for the additional
     reason that it believes him to be a member of an
     organization that supports terrorist activity.

AADC, 525 U.S. at 491–92 (emphasis added).         In sum, it does not

violate the Constitution for the government to commence removal

proceedings against an alien that is in the United States in

violation of the law for the additional reason that the alien is

a member of an organization that supports terrorist activity.

     Here the Plaintiffs challenge the applicability of the

statute to them inasmuch as they are not bringing their claims

on behalf of an alien or in relation to a deportation

proceeding, and argue that the narrow grounds of Section 1252(g)

are not applicable.   The Plaintiffs’ reliance on NWDC Resistance

v. Immigration & Customs Enf’t, 493 F. Supp. 3d 1003, 1006 (W.D.

Wash. 2020) is persuasive authority that the Plaintiffs can

pursue their own rights and do not fall within the narrow

jurisdictional bar of Section 1252(g).       Pls.’ Reply 4.



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     In NWDC Resources, two immigration activist organizations

sued ICE, its then-acting-director, and the then acting-

Secretary of the Department of Homeland Security, claiming that

“ICE ha[d] a policy and practice of targeting undocumented

immigration activists in retaliation for their protected speech”

but clarifying that they did “not seek to intervene in any

particular removal proceeding, or to reverse any specific

removal decision, but instead ask[ed] the Court to enjoin ICE’s

‘selective enforcement’ policy as unconstitutional.”            Id. at

1006.   Specifically, the plaintiffs plausibly pled the following

facts that echo the allegations in the instant complaint:

     ICE has engaged in a policy and practice of targeting
     outspoken activists who publicly criticize U.S.
     immigration law, policy and enforcement. [The
     plaintiffs’] operative First Amended Complaint
     includes numerous examples of such targeting. Maru
     Mora-Villalpando is the president of La Resistencia.
     The FAC and Mora-Villalpando's Declaration establish
     that she was issued a Notice to Appear because of her
     “anti-ICE protests.” La Resistencia and Maru Mora-
     Villalpando claim that such tactics are discriminatory
     and unconstitutional, and that they have had the
     perhaps intended effect of disrupting and discouraging
     member activists and their speech. Plaintiffs
     plausibly claim that they rely on family members for
     information about detainees, and that as the result of
     ICE’s practice, those family members are afraid to
     speak. Plaintiffs argue that the fear caused by
     selective enforcement has forced them to cancel
     events, limit interactions with the media, and
     required them to divert resources from activism to
     defending members facing removal proceedings.

Id. at 1007.   ICE’s primary argument was that Section 1252(g)

barred the action because the claim was really a selective

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enforcement claim against the immigrants, relying on the Supreme

court’s decision in AADC.    Id. at 1008-09.       For their part, the

plaintiffs in that case argued that Section 1252(g) did not

apply to their claims, which did not “challenge any specific

removal decision, but rather the constitutionality of a policy

of selectively enforcing immigration laws against aliens who

speak about immigration issues.”     Id. at 1010.

     The district court agreed with the plaintiffs that Section

1252(g) did not bar the claim:

          The Plaintiff organizations challenge the
     constitutionality of ICE's “policy choice” to target
     outspoken aliens. They do not seek to stop, delay,
     reverse or otherwise interfere with any of the three
     discrete actions described in Section 1252(g), as to
     any specific alien or any particular proceeding. None
     of the authorities upon which ICE relies supports its
     claim that such actions are barred by that statute's
     “limited scope;” every case it cites involved a claim
     by an individual challenging the motives behind
     removal proceedings commenced against him or her.

          Unlike the plaintiffs in those cases, the
     organizational Plaintiffs here are not aliens seeking
     to undo or prevent removal proceedings commenced
     against them. A narrow reading of Section 1252(g)
     does not apply to constitutional challenges brought by
     one who is not the alien subject to the three discrete
     decisions articulated in that statute, or one who is
     not bringing a challenge to such actions on the
     alien’s behalf.

Id. at 1011.

     So it is here.   The NWDC Resistance decision, while

somewhat a lone voice in the wilderness, is virtually

indistinguishable from the larger picture in this case: the

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Plaintiffs plausibly allege harm from a policy driven purely by

the Public Officials’ displeasure with pro-Palestinian speech --

not even membership in an organization or espousing violence.

     Whether the Plaintiffs will be successful on the merits is,

of course, another matter entirely, but the Plaintiffs in the

instant action are not barred by Section 1252(g), at least to

the extent the relief is construed consistent with attacking the

ideological-deportation policy. 7    This Court agrees that the

Plaintiffs’ claims based upon the ideological-deportation policy

are not brought “by or on behalf of any alien arising from” an

enumerated deportation decision, and therefore this Court is not

stripped of jurisdiction.     See Section 1252(g).

     Though the Court rules that Section 1252(g) does not apply

to the Plaintiffs’ claims, it nevertheless addresses the

applicability of the so-called “outrageousness” exception under

AADC, being fully cognizant that “[t]his argument is based on

dicta in [AADC] where the Supreme Court commented that a rare

case might present a constitutional violation that is so

outrageous that the doctrine of constitutional doubt might be

employed to overcome the jurisdictional prohibitions of Section


     7 In fact, the plaintiffs in NWDC Resistance ultimately lost
at summary judgment in January 2024. See Jan. 4, 2024 Order
Granting Summary Judgment and Vacating the Trial Date, ECF No.
191, NWDC Resistance v. Immigration & Customs Enforcement, Civ.
No. 3:18-cv-05860-JLR. There was no hearing, and the Order is
unclear as to the reasoning; a written opinion is pending. Id.
                                     [36]
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1252(g).”    Oldaker v. Giles, 724 F. Supp. 3d 1315, 1338 (M.D.

Ga. 2024).    While at least one court has viewed the exception as

a possible avenue for relief in an appropriate case, see Ragbir

v. Homan, 923 F.3d 53, 69–73 (2d Cir. 2019) (reversing

jurisdiction-based dismissal of habeas claim, on basis that

outrageousness exception to Section 1252(g) had been pleaded),

cert. granted, judgment vacated on other grounds sub nom. Pham

v. Ragbir, 141 S. Ct. 227 (2020), it is unclear whether it is

applicable here.    The Plaintiffs seem to recognize the tenuous

nature of its applicability, devoting only a single sentence in

a footnote:

     Even if § 1252(g) applied, [the] Defendants’ policy is
     so egregious a violation of the First Amendment that
     it would come within the exception recognized in AADC
     for outrageous government conduct.

Pls.’ Reply 5 n. 3 (citations omitted).        As the Court views it,

the Plaintiffs have successfully argued the inapplicability of

Section 1252(g), and thus this Court has no basis for ruling on

the applicability of the outrageousness exception.           Put another

way, Section 1252(g)’s jurisdictional bar applies narrowly to

claims by aliens or brought on their behalf in relation to the

deportation decisions enumerated in the statute, but the Supreme

Court has left the door ajar to an even narrower exception even

as to those claims.




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     In any event, Section 1252(g) does not bar the Plaintiffs’

claims, and its claims as to the ideological-deportation policy

as pleaded plausibly will proceed as to most of the counts here.

The Public Officials’ motion to dismiss on this ground is

DENIED.

     C. Standing

     “As Justice Scalia memorably said, Article III requires a

plaintiff to first answer a basic question: ‘“What’s it to

you?”’”   Food and Drug Admin. v. Alliance for Hippocratic Med.,

602 U.S. 367, 379 (2024) (quoting Antonin Scalia, The Doctrine

of Standing as an Essential Element of the Separation of Powers,

17 Suffolk U. L. Rev. 881, 882 (1983)).         As the Supreme Court

recently explained, “[f]or a plaintiff to get in the federal

courthouse door and obtain a judicial determination of what the

governing law is, the plaintiff cannot be a mere bystander, but

instead must have a ‘personal stake’ in the dispute,” and

“courts do not opine on legal issues in response to citizens who

might ‘roam the country in search of governmental wrongdoing.’”

Id. (first quoting TransUnion LLC v. Ramirez, 594 U.S. 413, 423

(2021); and then quoting Valley Forge Christian College v.

Americans United for Separation of Church and State, Inc., 454

U.S. 464, 487 (1982)).      “In particular, the standing requirement

means that the federal courts decide some contested legal

questions later rather than sooner, thereby allowing issues to

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percolate and potentially be resolved by the political branches

in the democratic process,” and as to some “the standing

requirement means that the federal courts may never need to

decide some contested legal questions.”        Id. at 380.      Indeed,

“‘[o]ur system of government leaves many crucial decisions to

the political processes,’ where democratic debate can occur and

a wide variety of interests and views can be weighed.’”            Id.

(quoting Schlesinger v. Reservists Comm. to Stop the War, 418

U.S. 208, 227 (1974)).

     Here, the Public Officials argue that the Plaintiffs lack

standing under both of the theories that they advance:

associational and organizational standing.         Defs.’ Opp’n 7-11.

     In order to establish standing, plaintiffs must show that

they have suffered an “injury in fact” that is “concrete and

particularized,” and, if based on future action, “actual or

imminent” rather than “conjectural” or “hypothetical”; (2)

“fairly traceable” to the alleged conduct of the defendant; and

(3) “likely” redressable by a favorable decision.”           Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).           “The

plaintiff ‘bears the burden of establishing standing as of the

time [s]he brought th[e] lawsuit and maintaining it thereafter,”

and “must support each element of standing ‘with the manner and

degree of evidence required at the successive stages of the

litigation.’”   Murthy v. Missouri, 603 U.S. 43, 57 (2024)

                                    [39]
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(alterations in original) (first quoting Carney v. Adams, 592

U.S. 53, 59 (2020); and then quoting Lujan, 504 U.S. at 561).

“‘[P]laintiffs must demonstrate standing for each claim that

they press’ against each defendant, ‘and for each form of relief

that they seek.’”   Id. at 61 (quoting TransUnion LLC, 594 U.S.

at 431).   “At the pleading stage, [the Court] ‘appl[ies] [to

questions of standing] the same plausibility standard used to

evaluate a motion under Rule 12(b)(6)”; the Plaintiffs “‘need

not definitively prove [their] injury or disprove . . .

defenses’ but need only ‘plausibly plead on the face of [their]

complaint’ facts supporting standing.”       In re Fin. Oversight &

Mgmt. Bd. for Puerto Rico, 110 F.4th 295, 307 (1st Cir. 2024)

(first quoting Gustavsen v. Alcon Lab’ys, Inc., 903 F.3d 1, 7

(1st Cir. 2018); and then quoting Tyler v. Hennepin Cnty., 598

U.S. 631, 637 (2023)).

             1. Associational Standing

     Associational standing allows an organization to sue on

behalf of its members when “(a) its members would otherwise have

standing to sue in their own right; (b) the interests it seeks

to protect are germane to the organization’s purpose; and (c)

neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.”            Hunt v.

Washington State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977);

see also In re Fin. Oversight & Mgmt. Bd. for P.R., 110 F. 4th

                                    [40]
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at 308.       The first prong, which is the only one that has been

challenged here, requires only “that at least one of the group’s

members have standing as an individual.”          Draper v. Healey, 827

F.3d 1, 3 (1st Cir. 2016).

       “Where a litigant seeks to challenge governmental action as

violative of the First Amendment, two types of injuries may

confer Article III standing without necessitating that the

challenger have been subjected to [penalty].”            Thayer v. City of

Worcester, 979 F. Supp. 2d 143, 151 (D. Mass. 2013) (Hillman,

J.).       The first, which the Plaintiffs have not alleged, arises

when “the plaintiff has alleged an intention to engage in a

course of conduct arguably affected with a constitutional

interest, but proscribed by statute, and there exists a credible

threat of prosecution.”       Id. (quoting Babbitt v. United Farm

Workers Nat’l Union, 442 U.S. 289, 298 (1979)).               The second

occurs when “the plaintiff is chilled from exercising her right

to free expression or forgoes expression in order to avoid

enforcement consequences.       In such situations the vice of the

statute is its pull toward self-censorship.”           Id. (quoting New

Hampshire Right to Life PAC v. Gardner, 99 F.3d 8, 13-14 (1st

Cir. 1996)). 8     Both injuries “depend on ‘the existence of a



      Similarly, “[w]hen it comes to the freedom of association,
       8

the protections of the First Amendment are triggered not only by
actual restrictions on an individual’s ability to join with
others to further shared goals. The risk of a chilling effect
                                      [41]
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credible threat that the challenged law will be enforced,’” or,

put differently, require that “the fear of prosecution must be

‘objectively reasonable.’”    Mangual v. Rotger-Sabat, 317 F.3d

45, 57 (1st Cir. 2003) (first quoting N.H. Right to Life, 99

F.3d at 14; and then quoting Rhode Island Ass’n of Realtors,

Inc. v. Whitehouse, 199 F.3d 26, 30 (1st Cir. 1999)).            At least

in the criminal context, the evidentiary bar to show a credible

threat of enforcement is “extremely low,” and will be assumed

“in the absence of compelling contrary evidence.”           Id. (quoting

N.H. Right to Life, 99 F.3d at 15).

     The problem of evaluating allegedly objective chills on

First Amendment rights has been analyzed recently in a number of

campus speech code cases.    See Speech First, Inc. v. Cartwright,

32 F. 4th 1110, 1120 (11th Cir. 2022) (collecting cases).             In a

recent dissent from a denial of certiorari in one such case,

Justice Thomas described the state of the law on this issue:

          It is well settled that plaintiffs may establish
     standing based on “the deterrent, or ‘chilling,’
     effect of governmental regulations that fall short of
     a direct prohibition against the exercise of First
     Amendment rights.” And, in assessing whether an
     “objective chill” exists in a particular case, courts
     must “look through forms to the substance” of the
     government's “informal sanctions,” . . . .



on association is enough, ‘[b]ecause First Amendment freedoms
need breathing space to survive.’” Americans for Prosperity
Found. v. Bonta, 594 U.S. 595, 618-19 (2021) (quoting National
Ass’n for Advancement of Colored People v. Button, 371 U.S. 415,
433 (1963)).
                                    [42]
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            Common features of [campus] bias response
       policies suggest that they may cause “‘students [to]
       self-censor, fearing the consequences of a report to
       [the bias response team] and thinking that speech is
       no longer worth the trouble.’” . . . . [T]he
       challenged bias response program combines a definition
       of bias that “appears limitless in scope” with a
       “threshold for reporting [that] is intentionally low.”
       . . . . And, the threat that the bias response team
       may refer a report to other university officers for
       further action is a “weighty consequenc[e]” that
       “‘lurks in the background.’”

Speech First, Inc. v. Whitten, 145 S. Ct. 701, 703 (2025)

(Thomas, J., dissenting from denial of certiorari) (emphasis

added) (citations omitted).    As the Eleventh Circuit has framed

its version of the objective chill test, “to determine whether a

First Amendment plaintiff has standing, we simply ask whether

the ‘operation or enforcement,’ of the government policy would

cause a reasonable would-be speaker to ‘self censor[],’ –- even

where the policy ‘fall[s] short of a direct prohibition against

the exercise of First Amendment rights.’”        Cartwright, 32 F. 4th

at 1120 (alterations in original) (citations omitted).

       The Public Officials argue that the alleged policy has not

been enforced against any of the Plaintiffs’ members or even

anyone their members know, so the Plaintiffs cannot show that

their members face an immediate threat of harm that a judicial

remedy could alleviate, or, put differently, that any particular

speech of a particular speaker will invite deportation.            Id. at

7-8.    Were the Plaintiffs’ associational standing theory to pass


                                    [43]
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muster, the Public Officials warn, any group of professors could

challenge any federal enforcement initiative that might impact

students.    Id. at 9.   They also point to a more general bar

against challenging the Executive Branch’s exercise of

enforcement discretion, premised on the principle that courts

lack meaningful standards to assess enforcement choices, and

argues that Plaintiffs cannot show causation because both the

policy and the class of persons impacted are ambiguously

defined.    Id. at 9-10.    Finally, the Public Officials argue that

the Plaintiffs have not shown that any incidental injuries to

the Plaintiffs and their members are redressable, because the

alleged chill depends on the actions of others (that is,

noncitizens) who feel threatened, and even the requested

injunction would in no way reduce the authority of the

government to exercise its immigration authority or prevent

governmental authorities from commenting on issues related to

Israel and Palestine.      Id.

     On balance, drawing all factual inferences in their favor,

at least the AAUP and MESA have associational standing to

challenge the allegedly objective chill on their noncitizen

members’ speech.    Although they have downplayed this standing

argument in their supporting briefs, the Plaintiffs have alleged

facts supporting a plausible inference that reasonable

noncitizen members of the Plaintiff organizations would self-

                                     [44]
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censor in response to the challenged policy based on a credible

threat of enforcement, which amounts to an objective chill.

Compl. ¶¶ 51-76; see Cartwright, 32 F. 4th at 1120; see Laird v.

Tatum, 408 U.S. 1, 11 (distinguishing between cases where chill

“arise[s] merely from the individual’s knowledge that a

governmental agency was engaged in certain activities,” such as

the army surveillance program challenged there, and, based on

those activities, “might in the future take some other and

additional action,” and cases where the governmental power

exercised “was regulatory, proscriptive, or compulsory in

nature, and the complainant was either presently or

prospectively subject to” it); Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 164-66 (2014) (finding risk of future

enforcement sufficiently substantial where there was history of

past enforcement, broad authority to file complaints triggering

enforcement, enforcement proceedings were not rare, and

proceedings could trigger criminal prosecution).

     The experiences of five anonymous AAUP members and two

anonymous MESA members, all lawful permanent residents and

professors or lecturers, are described in the complaint, with

particularized allegations that these members have stopped

assigning materials or teaching formerly-offered classes

touching on Israel and Palestine, turned down opportunities to

write and speak on related matters, canceled conference and

                                    [45]
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other plans, removed related previously published writing and

scholarship from the internet, declined leadership and event

opportunities within their organizations, ceased traveling

abroad or departed the country, and stopped associating or

protesting, all out of fear of potential retaliatory deportation

if they engage in political speech.       Compl. ¶¶ 51-73.       The

complaint alleges, moreover, that “Plaintiffs all have

noncitizen faculty and student members who have been compelled

to curtail the exercise of expressive and associational rights,”

that only “some” of these members have described their

experiences in detail, and that they are “anonymized because

they fear that their connection to this lawsuit could lead to

them being targeted,” and that some noncitizen members who were

interviewed by counsel “were too fearful even to have their

experiences described anonymously.”       Compl. ¶ 50.      Contrary to

the Public Officials’ assertions, this alleged chill bears a

close connection to the Plaintiffs’ allegations that the Public

Officials have announced an intent to carry out large-scale

arrests and deportations of noncitizen students and faculty who

participate in pro-Palestinian protests and related speech, have

made good on this promise by initiating arrests and revoking

student visas, have supplied the names of other students to be

targeted to universities, and have launched a social media

surveillance program to identify more targets.          Compl. ¶ 30.

                                    [46]
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Although the Plaintiffs may be required to name at least one of

these would-be speakers, see Summers v. Earth Island Inst., 555

U.S. 488, 498-99 (2009); Draper v. Healey, 827 F.3d 1, 3 (1st

Cir. 2016), these chilled noncitizen members of the Plaintiffs’

organizations would have standing to assert their First

Amendment rights on their own behalf, so the associations of

which they are members also have standing to sue.

     Instead of emphasizing the chill on their noncitizen

members’ speech, the Plaintiffs have stressed their citizen

members’ right to hear from and associate with noncitizens,

citing Kleindenst v. Mandel, 408 U.S. 753, 762-65 (1972) for the

proposition that the right to hear and to receive information

and ideas is protected by the First Amendment.          The Plaintiffs

are not wrong to invoke their citizen members’ right to hear and

to receive information, particularly given that the First

Amendment is “nowhere more vital than in our schools and

universities,” Mandel, 408 U.S. at 763, nor of course their

right to associate, see Bonta, 594 U.S., but they point to no

authority for the extension of what amounts to a kind of right-

to-consortium claim to the right to hear from and associate with

potential deportees.   Mandel involved an individual would-be

speaker who was invited to speak by particular would-be hearers

and refused entry, 408 U.S. at 756-60, lending support to the

Public Officials’ argument that the harm to the citizen members’

                                    [47]
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rights is too attenuated because no specific member is alleged

to have been deprived by the government of the opportunity to

hear from or associate with a specific noncitizen, Defs.’ Opp’n

9.   The Plaintiffs’ “right to hear” argument, therefore, while

non-frivolous, asks this Court to take an apparently

unprecedented creative leap: to rule that one may sue for being

deprived of the right to hear from another, due to an objective

chill on another’s speech.      Without ruling that such a theory,

or a similar theory based on freedom of association, could not

properly be advanced, this Court instead rests its ruling that

the AAUP and MESA have associational standing on the Plaintiffs’

own noncitizen members’ objectively chilled speech.

      The Public Officials’ redressability argument likewise

fails at this stage.     Although “Article III requires some

minimum likelihood that the relief sought actually does or could

matter,” at the same time, ”declaratory relief alone may be

sought where it may have some meaningful effect.”               Neely v.

Benefits Review Bd., 139 F.3d 276, 279 (1st Cir. 1998).               This

Court may grant the Plaintiffs declaratory relief, or a stay

under the Administrative Procedure Act, even if injunctive

relief is barred.     See Brito, 22 F. 4th at 252.            The Supreme

Court has found the redressability requirement satisfied where,

for instance, “it would seem . . . ‘substantially likely that

the President and other executive and congressional officials

                                      [48]
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would abide by an authoritative interpretation of the census

statute and constitutional provision,’” even in circumstances

where it was not entirely clear how an agency would or must

respond to a court’s determination on a given issue.            Utah v.

Evans, 536 U.S. 452, 463-64 (2002) (quoting Franklin v.

Massachusetts, 505 U.S. 788, 803 (1992) (opinion of O’Connor,

J.)); see also Antilles Cement Corp. v. Fortuno, 670 F.3d 310,

318 (1st Cir. 2012) (“To carry its burden of establishing

redressability, [plaintiff] need only show that a favorable

ruling could potentially lessen its injury . . . .”).            The

Public Officials are incorrect, moreover, in asserting that the

Plaintiffs’ claims necessarily depend on the actions or inaction

of others; rather, the Plaintiffs allege that their members’ own

speech is being chilled.

            2. Organizational Standing

     Because the Plaintiffs’ standing theories may affect the

relief this Court can offer, this Court proceeds to analyze

organizational standing as well.

     Organizational standing allows an organization to sue when,

like an individual, it has “alleged . . . a personal stake in

the outcome of the controversy,” because the challenged actions

have caused “concrete and demonstrable injury to the

organization’s activities,” with a “consequent drain on the

organization’s resources” that is “more than simply a setback to

                                    [49]
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the organization’s abstract social interests.”          Havens Realty

Corp. v. Coleman, 455 U.S. 363, 379 (1982) (quoting Arlington

Heights v. Metropolitan Housing Dev. Corp., 429 U.S. 252, 261

(1977)).   Although “only a perceptible impairment of an

organization’s activities is necessary for there to be an injury

in fact,” Louis v. Saferent Solutions, LLC, 685 F. Supp. 3d 19,

32 (D. Mass. 2023) (Kelley, J.), the Supreme Court has cautioned

that “an organization that has not suffered a concrete injury

caused by a defendant’s action cannot spend its way into

standing simply by expending money to gather information and

advocate against the defendant’s action,” and thus “has been

careful not to extend the Havens [organizational standing]

holding beyond its context,” Food & Drug Admin. v. Alliance for

Hippocratic Med., 602 U.S. 367, 370 (2024); see also Equal Means

Equal v. Ferriero, 3 F. 4th 24, 29-31 (1st Cir. 2021)

(collecting cases); African Cmtys. Together v. Trump, No. 19-

10432, 2019 WL 5537231, at *4 (D. Mass. Oct. 25, 2019) (Hillman,

J.) (injury-in-fact requirement satisfied where plaintiff

organization alleged it had diverted resources to protect

particular African immigrants facing imminent removal);

Massachusetts v. United States Dept. of Health & Hum. Servs.,

923 F.3d 209, 222 (1st Cir. 2019) (noting that, “[i]n this

circuit, ‘[i]t is a bedrock proposition that “a relatively small

economic loss -- even an identifiable trifle -- is enough to

                                    [50]
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confer standing”’” (quoting Katz v. Pershing, LLC, 672 F.3d 64,

76 (1st Cir. 2012))).

     The Public Officials argue that the Plaintiffs do not have

organizational standing because they do not claim that they are

being regulated directly, but rather focus on downstream harms

from others’ actions, such as noncitizens’ declining to become

members of their organizations.     Defs.’ Opp’n 11.        It is

entirely speculative, the Public Officials contend, whether

associating with the Plaintiff organizations would lead to

deportation, and the Plaintiffs have not alleged that it has;

they have only alleged “ipse dixit anxiety.”         Id.    Likewise,

because organizations may not spend their way into standing,

these organizations’ decisions to divert resources toward

addressing fears of deportation is not a cognizable Article III

injury.    Id.

     The Plaintiffs argue that they have organizational standing

because the policy has caused concrete injury to their

activities, such as by deterring noncitizen faculty and students

from joining their organizations and participating in their

events, including members’ stepping back from AAUP leadership

positions and skipping AAUP and MESA events and projects,

including MESA’s flagship annual meeting, which has

significantly lower-than-usual registration numbers at this time

of year.    Pls.’ Mem. 9-10.   The Plaintiffs also argue that they

                                    [51]
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have diverted resources from other projects, spending

significant portions of their time counseling noncitizen members

on deportation risks and connecting them with legal help.              Id.

     This Court rules that at least MESA has organizational

standing to sue based on its own injuries.          The Middle East

Studies Association, after all, exists to “foster the study of

the Middle East,” Compl. ¶ 91, and the Plaintiffs allege that

the Public Officials are intentionally targeting noncitizens who

speak about an important controversy affecting the Middle East

and chilling speech related to it, see Compl. ¶¶ 13, 91-94.

This is a far cry from Alliance for Hippocratic Med., where the

plaintiff medical associations alleged only that they were

incurring costs to oppose the FDA’s actions with respect to

mifepristone, such as sponsoring studies to inform citizens of

the drug’s risk.   602 U.S. at 394.        The case at bar seems closer

to Havens, where, as described in Alliance for Hippocratic Med.,

“[c]ritically, [the plaintiff] not only was an issue-advocacy

organization, but also      operated a . . . service [that was] . .

. ‘perceptibly impaired’” by the defendant’s actions, that is,

where the plaintiff’s core service of providing accurate housing

information were harmed by the defendant’s giving its employees

false information.   Id. at 395 (quoting Havens, 455 U.S. at

379).   With the caution that the Supreme Court has deemed Havens

to be “an unusual case,” id. at 396, then, MESA at least

                                     [52]
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plausibly alleges that the Public Officials’ “actions directly

affect[] and interfere[]” with its “core . . . activities,” id.

at 395, such as by deterring noncitizen members -- whom MESA

alleges are among its most valuable members due to their

backgrounds and linguistic capacities, Compl. ¶ 92 -- from

participating in core organization activities, and by

perceptibly impairing its core mission of fostering the study of

and dialogue about the Middle East.

     Given the AAUP’s core mission of advancing “academic

freedom” in higher education, at least some of this reasoning

applies to the AAUP and its chapters as well.          Compl. ¶ 78.

Considering the broader sweep of this mission, however, the

AAUP’s organizational standing argument is somewhat less

particularized than MESA’s.    But see The Presbyterian Church

(U.S.A.) v. United States, 870 F.2d 518, 521-22 (9th Cir. 1989)

(organizational standing to sue based on plaintiff church’s

allegation that Immigration and Naturalization Service

surveillance caused members to “withdraw from active

participation in the churches” and led to cancellation of a

bible study group, to clergy time being diverted from regular

duties, and to a general decline in support and congregant

engagement and speech); NWDC Resistance, 493 F. Supp. 3d at

1015-16 (collecting First Amendment cases supporting capacious

view of organizational standing).

                                    [53]
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     “So long as one plaintiff has standing to seek a particular

form of global relief, the court need not address the standing

of other plaintiffs seeking the same relief.”          Comfort v. Lynn

Sch. Comm., 418 F.3d 1, 11 (1st Cir. 2005) (en banc).            This

Court therefore declines to rule on whether the AAUP and its

chapters have organizational standing to sue at this stage.             The

motion to dismiss on standing is DENIED, and the Court proceeds

to the merits.

     D. The First Amendment (Counts One and Two)

     As to the Plaintiffs’ First Amendment claims, the Public

Officials argue: (1) that a “policy” cobbled together from news

articles and social media posts is not amenable to First

Amendment challenge, but is protected by the Public Officials’

own rights to speech and to coordinate political initiatives,

Defs.’ Opp’n 12; (2) a facial challenge to the Executive Orders

themselves is foreclosed because they have a plainly legitimate

sweep, and these orders address unlawful conduct such as

supporting terrorist groups, not protected speech, id. at 12-13;

(3) under the federal immigration laws and Supreme Court

precedent, the President and the Secretary of State may take

action against noncitizens based on expression, such as speech

that would compromise a compelling United States foreign policy

interest or that endorses or espouses terrorist activity or

persuades others to do so, or Communist party membership,

                                    [54]
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because First Amendment protections are less robust for

noncitizens, id. at 13-14; (4) aliens unlawfully in the United

States cannot raise a selective enforcement defense against

their deportations, so their would-be hearers cannot raise what

is in essence one either and, to the extent that noncitizens can

bring such claims, they must do so individually, id. at 14-15;

and (5) the Plaintiffs cannot bring a claim based on National

Rifle Ass’n of Am. v. Vullo, 602 U.S. 175, 191 (2024), because

they do not allege that the Public Officials are suppressing

their or their members’ speech by coercing a third party to

censor them, but rather that the Public Officials are acting

directly against the would-be speakers, id. at 15.

     Although this case raises novel First Amendment issues and

the precise scope of the ideological-deportation policy

challenged by the Plaintiffs is not yet clear, at the motion to

dismiss stage the Plaintiffs’ First Amendment claims survive.

It is well established that noncitizens have at least some First

Amendment rights, see Bridges v. Wixon, 326 U.S. 135, 148

(1945), and political speech is “at the core of what the First

Amendment is designed to protect,” Virginia v. Black, 538 U.S.

343, 365 (2003).   Although case law defining the scope of

noncitizens’ First Amendment rights is notably sparse, the

Plaintiffs have at least plausibly alleged that noncitizens,

including lawful permanent residents, are being targeted

                                    [55]
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specifically for exercising their right to political speech.

See American-Arab Anti-Discrim. Comm. v. Reno, 70 F.3d 1045,

1063-64 (9th Cir. 1995), rev’d on other grounds, 525 U.S. 471

(“The Supreme Court . . . has accorded to aliens living in the

United States those protections of the Bill of Rights that are

not, by the text of the Constitution, restricted to citizens.”);

OPAWL – Building AAPI Feminist Leadership v. Yost, 118 F. 4th

770, 776 (6th Cir. 2024) (“Lawful permanent residents have First

Amendment rights. . . . [T]hey have developed sufficient

connections with the United States to be considered part of the

national community: They live and work here lawfully, and they

can serve in the military.”); United States v. Verdugo-Urquidez,

494 U.S. 259, 271 (1990) (“[A]liens receive constitutional

protections when they have come within the territory of the

United States and developed substantial connections with this

country.”); but see Price v. United States Immigr. &

Naturalization Serv., 962 F.2d 836, 841-42 (9th Cir. 1991).             The

Plaintiffs have also clarified that they do not mean to bring a

selective prosecution challenge, but rather contend “that

Defendants are deporting people on the basis of their viewpoints

alone.”   Pls.’ Reply 6.

     Contrary to what the Public Officials contend, this Court

cannot agree that this alleged conduct would be constitutional.

See Abourezk v. Reagan, 592 F. Supp. 880 (D.D.C. 1984) (“[Public

                                    [56]
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Officials] may not, consistent with the First Amendment, deny

[noncitizens] entry solely on account of the content of their

speech.”), vacated on other grounds, 785 F.2d 1043 (D.C. Cir.

1986).    The Public Officials’ reliance on case law from the

height of the second Red Scare era, such as Harisiades v.

Shaughnessy, 342 U.S. 580 (1952), is misplaced, and this Court

assumes instead that noncitizens lawfully present in the United

States have at least the core rights protected by the First

Amendment, chief among them the right to speak on political

subjects at least where such speech poses no immediate threat to

others.    See American Arab Anti-Discrim. Comm. v. Meese, 714 F.

Supp. 1060, 1074-82 (C.D. Cal. 1989) (collecting cases holding

that noncitizens have First Amendment rights, holding that

noncitizens retain these rights in the deportation setting, and

observing that in Harisiades, “the Supreme Court applied to

aliens the same First Amendment test then applicable to

citizens,” which has since changed), aff’d in part, rev’d in

part sub nom. American-Arab Anti-Discrim. Comm. v. Thornburgh,

970 F.2d 501 (9th Cir. 1991); see also Erwin Chemerinsky, The

First Amendment 137-39 (3rd ed. 2024) (observing that, following

the era in which Harisiades was decided, “by the mid-1960s, the

Court appeared to be much more protective of speech,” and

describing the since-developed “incitement test” requiring “a

likelihood of imminent harm”); Keyishian v. Board of Regents,

                                    [57]
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385 U.S. 589 (1967) (holding a state law denying employment to

members of subversive organizations, without requiring proof of

knowledge and intent respecting the organizations’ illegal

objectives, unconstitutional);    Holder v. Humanitarian L.

Project, 561 U.S. 1, 39 (2010) (upholding application of statute

criminalizing material support of terrorism to groups providing

any material support to designated terrorist groups, including

legal training and political advocacy done in coordination with

them, but noting that the Court “in no way suggest[s] that a

regulation of independent speech would pass constitutional

muster, even if the Government were to show that such speech

benefits foreign terrorist organizations”).

     Although there is some superficial appeal to the Public

Officials’ argument that the Plaintiffs have raised no more than

“generalized complaints about agency behavior,” Greater Boston

Legal Servs. v. United States Dept. of Homeland Sec., No. 21-cv-

10083, 2022 WL 138629, at *6 (D. Mass. Jan. 14, 2022) (Casper,

J.) (quoting Cobell v. Kempthorne, 455 F.3d 301, 307 (D.C. Cir.

2006)), First Amendment challenges may be brought against

unwritten policies, and at this stage the existence of the

policy the Plaintiffs allege is a factual issue on which this

Court must draw all reasonable inferences in their favor, see,

e.g., Hoye v. City of Oakland, 653 F.3d 835, 855 (9th Cir. 2011)

(noting that “[a]n unwritten policy . . . is usually harder to

                                    [58]
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establish,” but less so when “the [Public Officials’] own

pronouncements definitively articulate a content-discriminatory

enforcement policy”) 9; see also Schmitt v. Murphy, No. 05-11348,

2010 WL 3813648, at *7 n.13 (D. Mass. 2010) (Gertner, J.) (“The

existence of an oral, rather than written, policy does not




     9In Hoye, the Ninth Circuit describes the First Circuit’s
identification of a “second kind of as-applied challenge,” which
challenges a neutral law that is being “enforced selectively in
a viewpoint-discriminatory way,” and which the Ninth Circuit
characterizes instead as a “selective enforcement equal
protection claim[]” rather than an as-applied challenge. 653
F.3d 835, 854-55 (9th Cir. 2011) (quoting McGuire v. Reilly, 386
F.3d 45, 62 (1st Cir. 2004)). The Public Officials construe the
Plaintiffs’ claims as a facial challenge to the relevant
Executive Orders, but the Plaintiffs consistently state that
they instead challenge a discriminatory policy implementing
these orders. See Compl. ¶ 1. To make a selective enforcement
claim of the kind described in McGuire, “some showing of intent
on the part of government officials probably is necessary.” 386
F.3d 45, 63 (1st Cir. 2004). Insofar as this can be construed
as a facial challenge, the Public Officials are wrong to suggest
that Plaintiffs must show that the challenged law or policy
lacks any “plainly legitimate sweep,” Moody v. NetChoice, 603
U.S. 707, 744 (2024); Defs.’ Opp’n 12. Rather, “[t]o ‘provide[]
breathing room for free expression,’” a facial challenge under
the First Amendment requires plaintiffs to show that “a
substantial number of [the law’s] applications are
unconstitutional, judged in relation to the statute’s plainly
legitimate sweep.’” Moody, 603 U.S. at 723 (first quoting
United States v. Hansen, 599 U.S. 762, 769 (2023); and then
quoting Bonta, 594 U.S. at 615)). Since the Plaintiffs allege
intent, this Court need not decide the exact scope of their
First Amendment challenge at this stage. See also Tipton v.
University of Haw., 15 F.3d 922, 927 (9th Cir. 1994) (describing
attack on “unwritten policy as manifested in the [defendant’s]
application of its written policy,” which may be described as
either facial or as-applied, and which focuses on “the
systematically unconstitutional operation of a [written policy]”
(quoting Bowen v. Kendrick, 487 U.S. 589, 608 (1988) (Blackmun,
J., dissenting))).
                                    [59]
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appear to implicate the Constitution.       The Supreme Court

discusses regulations or ‘practice.’” (quoting Procunier v.

Martinez, 416 U.S. 396, 413 (1974)).       This makes intuitive

sense, because a speech code that is unwritten or vague but

enforced with harsh penalties would seem more likely to chill

broad swaths of speech than one that clearly defines what is

forbidden.   See Speech First, Inc. v. Sands, 69 F. 4th 184, 207

(4th Cir. 2023) (Wilkinson, J., dissenting) (“With a definition

this loose and rambling, almost anything could be framed as a

[bias violation].”).   This is what the Plaintiffs have alleged:

a not-clearly-articulated policy against speech that could be

construed as pro-Palestinian or anti-Israel, and that may be

enforced by arrest, detainment, and deportation, including

arrests at one’s home or on the street by masked officers.             It

is hard to imagine a policy more focused on intimidating its

targets from practicing protected political speech.

     Given the broadness of these allegations, this Court

declines to analyze counts one and two separately at this stage.

The law against speech-chilling governmental pressure, which

more clearly applies to count two’s alleged campaign of “threats

to punish constitutionally protected speech,” Compl. ¶ 136, is

in some ways clearer than the law regarding rules or policies

that work an objective chill, because there is on-point Supreme

Court precedent establishing that the government may not exert

                                    [60]
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undue pressure against First Amendment rights through a regime

of “thinly veiled threats” and “informal censorship,” Bantam

Books, Inc. v. Sullivan, 372 U.S. 58, 66-67 (1963), but the

former may ultimately collapse into the latter, see Whitten, 145

S. Ct. at 703 (Thomas, J., dissenting), and the more recent case

law regarding the former is more obviously applicable to the

ideological-deportation policy that is challenged in count one,

Compl. ¶¶ 134-35; see Cartwright, 32 F. 4th. 10

     This Court rules that the Plaintiffs have plausibly alleged

the existence of both an ideological-deportation policy

targeting protected political speech and a more informal

campaign of censorship through threats.        The motion to dismiss

counts one and two is therefore DENIED.

     E. The Fifth Amendment (Count Three)

     As to the Plaintiffs’ Fifth Amendment claim, the Public

Officials argue that the Plaintiffs cannot challenge a cobbled-

together unwritten “policy” as unconstitutionally vague; that,

even if the Plaintiffs challenge the relevant Executive Orders,



     10Count two also faces unique challenges because it
implicates government speech, see Pleasant Grove City, Utah v.
Summum, 555 U.S. 460, 467 (2009) (“The Free Speech Clause
restricts government regulation of private speech; it does not
regulate government speech.”), and must also reckon with the
free speech rights of the individual government actors whose
speech the Plaintiffs view as threatening, see Goldstein v.
Galvin, 719 F.3d 16, 30 (1st Cir. 2016) (“Not only do public
officials have free speech rights, but they also have an
obligation to speak out about matters of public concern.”).
                                    [61]
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this challenge is foreclosed, because these Orders do not

regulate private conduct; that there is no precedent for

extending Fifth Amendment vagueness doctrine beyond the

statutory context; and, in any case, the Orders track well-

established concepts of unlawful conduct such as harassment and

aiding terrorism, so they are not vague.        Defs.’ Opp’n 15-16.

     The Plaintiffs’ counterargument is confined to a footnote,

stating the general proposition that policies such as this one

may be challenged on vagueness grounds, and that the Plaintiffs

are not, as the Public Officials contend, challenging the

Executive Orders themselves.    Pls.’ Reply 7 n.5.          The cases

cited for this proposition address written rules and

regulations, not unwritten policies.       See, e.g., Wagner v. City

of Holyoke, 100 F. Supp. 2d 78, 86 (D. Mass. 2000) (Ponsor, J.)

(“Even if the rule might be vague as applied . . . , it belies

common sense to suppose that this plaintiff was not aware that

his conduct fell within the purview of the regulation.”

(emphasis added)).   The Plaintiffs draw this Court’s attention

to a Due Process challenge to the foreign policy provision of

the INA that the government has invoked to argue that it may

take adverse immigration action based on expression, see Massieu

v. Reno, 915 F. Supp. 681, 698-703 (D.N.J. 1996) (Barry, J.)

(holding INA foreign policy provision void for vagueness), rev’d



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on other grounds, 91 F.3d 416 (3d Cir.); Defs.’ Opp’n 13, but do

not challenge this provision themselves.

     Because Due Process-based vagueness challenges have not

been extended beyond the statutory sphere or, at most, to

written rules and regulations, the motion to dismiss count three

is ALLOWED.

     F. The APA (Count Four)

     As to the Plaintiffs’ APA claim, the Public Officials argue

that the Plaintiffs have not challenged a final agency action or

one for which there is no other adequate remedy, because (1) the

alleged policy has not determined rights and obligations or

triggered legal consequences, but is instead at most a general

executive program not captured in any order or regulation,

Defs.’ Opp’n 16-17, and (2) challenges to removal decisions must

be channeled through the exclusive administrative scheme

established for immigration review, so there is another adequate

remedy, id. at 17-18.   In addition, the Public Officials argue

that Executive Orders may not be challenged under the APA

because the President is not an agency, and that the Plaintiffs’

APA challenge would fail on the merits in any case because the

“substantive policy decisions captured in the EOs (and reflected

in practice)” are not arbitrary or capricious, but rather

represent a rational response to a surge of antisemitic

harassment after the October 7 attack that benefited terrorist

                                    [63]
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organizations such as Hamas to the detriment of the United

States’ national security.    Id. at 18.

     In response, the Plaintiffs argue that there is a strong

presumption in favor of judicial review of agency action, that

agency action may be final even if it not reduced to writing,

and that the Plaintiffs do lack any other adequate remedy

because their claims are not reviewable through removal

proceedings and their harms would not be relieved by future

review of potential deportees’ claims.       Pls.’ Reply 7-8.

     For an agency action to be reviewable under the APA, it

must be “final” action, Lujan, 497 U.S. at 882, and there must

be “no other adequate remedy” for the alleged harm, Bennett v.

Spear, 520 U.S. 154, 157 (1997).     To be final, agency action

must be “one by which rights and obligations have been

determined” or from which “legal consequences will flow.”

Bennett, 520 U.S. at 177-78.

     Particularly given that this Court must draw all reasonable

inferences in the Plaintiffs’ favor at this stage, including

“inferences that support the existence of an official policy,”

Amadei v. Nielsen, 348 F. Supp. 3d 145, 165 (E.D.N.Y. 2018), the

Plaintiffs have plausibly alleged final agency action.            Agency

action “need not be in writing to be judicially reviewable as a

final action,” as “[a] contrary rule ‘would allow an agency to

shield its decisions from judicial review simply by refusing to

                                    [64]
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put those decisions in writing.’”     Aracely, R. v. Nielsen, 319

F. Supp. 3d 110, 139 (D.D.C. 2018) (quoting Grand Canyon Tr. v.

Public Serv. Co. of N.M., 283 F. Supp. 2d 1249, 1252 (D.N.M.

2003)).   This rule has been applied, for instance, where

plaintiffs challenged an unwritten Department of Homeland

Security policy that “direct[ed] ICE officers to consider

deterrence of mass migration as a factor in their custody

determinations,” leading to the increased detention of Central

American mothers and children.    R.I.L-R. v. Johnson, 80 F. Supp.

3d 164, 174 (D.D.C. 2015).    Where “Defendants have repeatedly

stated that there is a policy,” moreover, they “cannot, now,

have their cake and eat it too,” and the Plaintiffs have pointed

to several examples of high-level agency officials at least

arguably “saying that they were following a policy” of targeting

those who have engaged in pro-Palestinian advocacy for

deportation.   Amadei, 348 F. Supp. 3d at 165; see, e.g., Compl.

¶ 29.

     As the Plaintiffs argue, the Public Officials’ analogy to

Lujan, where the plaintiffs challenged a constellation of Bureau

of Land Management actions announcing its intent to grant

permission to certain activities, to decline to interfere with

others, and to take other action if requested, is inapposite,

because the Plaintiffs allege a specific “policy of revoking the

visas and green cards of faculty and students engaged in pro-

                                    [65]
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Palestinian advocacy,” not a constellation of independent

decisions or a general drift in agency priorities.           Pls.’ Reply

7-8; Lujan, 497 U.S. at 892.    This case is closer to Johnson

than Lujan: here the Plaintiffs allege that the Public Officials

are targeting noncitizens who engage in pro-Palestinian advocacy

for visa revocation and deportation, not that they have become

anti-Palestinian or suppressive of speech in some general way.

     The Plaintiffs have also plausibly argued that their harms

are not otherwise redressable than through the APA.           If, as

discussed supra, the Plaintiffs may be unable to obtain an

injunction based on their freestanding First Amendment claims,

then it is unclear how their harms may otherwise be redressed

than by the stay they request under the APA.         Likewise, “even if

an individual noncitizen challenges the Agencies’ [action], that

review does not address the broader injury alleged by Plaintiffs

here,” Greater Boston Legal Servs. 2022 WL 138629, at *5 -- that

is, the chill on noncitizen members’ speech, the harm to citizen

members’ ability to hear from and associate with noncitizen

colleagues and students, and the direct harm to the

organizations’ core missions of supporting academic freedom and

to their core activities and spending.       The Public Officials

argue that the INA broadly precludes APA review of decisions

affecting immigration, Defs.’ Opp’n 17-18, but, as Justice

Sotomayor noted in her Aleman Gonzalez concurrence, the Supreme

                                    [66]
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Court has not addressed whether the INA restrains courts from

setting aside agency action under the APA, 596 U.S. at 571

(Sotomayor, J., concurring in part), and the Plaintiffs point to

instances where courts have held or assumed that it does not,

Pls.’ Reply 10; see National TPS All. v. Noem, No. 25-cv-01766,

2025 WL 957677, at *11-14 (N.D. Cal. Mar. 31, 2025).

      Therefore, this Court DENIES the motion to dismiss count

four. 11




       The Plaintiffs argued the prudential standing requirement
      11

that their claims must be within the “zone of interests” of the
statute governing the challenged actions for them to bring a
claim regarding implementations of the statute under the APA,
pointing to cases where employers benefiting from visa programs
and organizations inviting noncitizens to speak were held to
fall within the zone of interests of the INA. Pls.’ Mem. 17-18.
The Public Officials do not challenge this characterization.
This issue is underdeveloped now. “As long as the
constitutional standing requirements are satisfied, the court
may evaluate the case’s merits before resolving thorny
prudential standing questions,” and so this Court does here.
Labor Rels. Div. of Constr. Indus. of Mass. v. Healey, No. 15-
10116, 2015 WL 4508646, at *5 (July 9, 2015) (Zobel, J.).

                                     [67]
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III. CONCLUSION

     For the reasons stated above, the Motion to Dismiss is

ALLOWED in part as to count three and DENIED in part as to

counts one, two, and four.    A case management conference is set

for Tuesday, May 6, 2025 at 10 a.m.




 SO ORDERED.

                                           _/s/ William G. Young__
                                               WILLIAM G. YOUNG
                                                     JUDGE
                                                    of the
                                                UNITED STATES 12




     12This is how my predecessor, Peleg Sprague (D. Mass 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 47 years.
                                    [68]
